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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   )
In re:                                                             ) Chapter 11
                                                                   )
TZEW HOLDCO LLC, et al.,1                                          ) Case No. 20-10910 (CSS)
                                                                   )
                                     Debtors.                      ) (Jointly Administered)
                                                                   )

    NOTICE OF AGENDA FOR TELEPHONIC HEARING SCHEDULED FOR JUNE 4,
    2020 AT 11:00 A.M. (PREVAILING EASTERN TIME), BEFORE THE HONORABLE
     CHRISTOPHER S. SONTCHI BANKRUPTCY JUDGE, AT THE UNITED STATES
    BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, LOCATED AT 824
     NORTH MARKET STREET, 5th FLOOR, COURTROOM NO. 6, WILMINGTON,
                                 DELAWARE 19801

                ANY PARTY WISHING TO PARTICIPATE IN THE HEARING
                MUST APPEAR THROUGH BOTH COURTCALL AND ZOOM.


                   TO APPEAR BY VIDEO CONFERENCE VIA ZOOM,
                PARTIES SHOULD USE THE FOLLOWING INSTRUCTIONS:

                    Join Zoom Hearing: https://www.zoomgov.com/j/1609918924
                                           Meeting ID: 160 991 8924

TO APPEAR TELEPHONICALLY VIA COURTCALL, PARTIES MUST MAKE PRIOR
               ARRANGEMENTS WITH COURTCALL BY
          TELEPHONE (866-582-6878) OR FACSIMILE (866-533-2946)

    ADJOURNED MATTER:

1.       Motion of Diana Le, Vivian Le, Jamie Nguyen, By and Through Her Guardian Ad Litem
         James Nguyen, and Jameson Nguyen By and Through His Guardian Ad Litem James
         Nguyen for Relief From the Automatic Stay Pursuant to Section 362(d) of the
         Bankruptcy Code [Filed: 5/11/20] (Docket No. 213).



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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Apex Parks Group, LLC (5579); Apex Real Property Holdings, LLC (1013); Speedzone Beverage
     Company, LLC (2339); Speedzone Holdings, LLC (7913); Speedzone Management, LLC (2937); TZEW
     Holdco LLC (0252); and TZEW Intermediate Corp. (1058). The location of the Debtors’ service address in
     these chapter 11 cases is: 3405 Michelson Drive, Irvine, CA 92612.




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        Response Deadline: May 26, 2020, at 4:00 p.m. ET (extended until 6/23/20 at 4:00 p.m.
        ET for the Debtors)

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       [Proposed] Order Granting Motion for Relief From the Automatic Stay Provisions
                 of 11 U.S.C. § 362(d) [Filed: 5/11/20] (Docket No. 213, Exhibit B).

        Status: This matter is adjourned until July 7, 2020 at 10:00 a.m.

RESOLVED MATTERS:

2.      Motion of Ana Silva for Relief From the Automatic Stay Pursuant to 11 U.S.C. § 362(d)
        [Filed: 5/12/20] (Docket No. 217).

        Response Deadline: May 26, 2020, at 4:00 p.m. ET (extended until 5/29/20 at 4:00 p.m.
        ET for the Debtors)

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       [Proposed] Order Granting Motion of Ana Silva for Relief From the Automatic
                 Stay Pursuant to 11 U.S.C. § 362(d) [Filed: 5/12/20] (Docket No. 217).

        b.       Stipulation (I) Providing Ana Silva Limited Relief From the Automatic Stay to
                 Pursue State Court Action Against Debtors and Recover Solely From Available
                 Insurance Proceeds and (II) Waiver of Recovery of Claim Against the Debtors
                 and Their Estates [Filed 5/29/20] (Docket No. 271).

        Status: This matter has been resolved By Stipulation. No hearing necessary.

3.      Application of the Official Committee of Unsecured Creditors for Entry of an Order
        Authorizing the Employment and Retention of Kelley Drye & Warren LLP as Lead
        Counsel Nunc Pro Tunc to April 23, 2020 [Filed: 5/14/20] (Docket No. 233).

        Response Deadline: May 26, 2020, at 4:00 p.m. ET

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       [Signed] Order Authorizing the Employment and Retention of Kelley Drye &
                 Warren LLP as Lead Counsel to the Official Committee of Unsecured Creditors
                 Nunc Pro Tunc to April 23, 2020 [Filed: 6/1/20] (Docket No. 278).

        Status: The Court has entered an order on this matter.

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4.      Application of the Official Committee of Unsecured Creditors Pursuant to 11 U.S.C. §§
        328(a), 504, and 1103(a); Fed. R. Bankr. P. 2014, 2016 and 5002; and Del. Bankr. L.R.
        2014-1 for an Order Authorizing Retention and Employment of Morris, Nichols, Arsht &
        Tunnell LLP as Delaware Co-Counsel for the Official Committee of Unsecured Creditors
        Nunc Pro Tunc to April 23, 2020 [Filed: 5/14/20] (Docket No. 234).

        Response Deadline: May 28, 2020, at 4:00 p.m. ET

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       [Signed] Order Authorizing the Official Committee of Unsecured Creditors
                 Pursuant to 11 U.S.C. §§ 328(a), 504, and 1103(a); Fed. R. Bankr. P. 2014, 2016
                 and 5002; and Del. Bankr. L.R. 2014-1 for an Order Authorizing Retention and
                 Employment of Morris, Nichols, Arsht & Tunnell LLP as Delaware Co-Counsel
                 for the Official Committee of Unsecured Creditors Nunc Pro Tunc to April 23,
                 2020 [Filed: 6/1/20] (Docket No. 279).

        Status: The Court has entered an order on this matter.

5.      Motion of the Official Committee of Unsecured Creditors for an Order Determining that
        the Committee is Not Required to Provide Access to Confidential or Privileged
        Information of the Debtors [Filed: 5/14/20] (Docket No. 235).

        Response Deadline: May 28, 2020, at 4:00 p.m. ET

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       [Signed] Order Determining that the Committee is Not Required to Provide
                 Access to Confidential or Privileged Information of the Debtors [Filed: 6/1/20]
                 (Docket No. 280).

        Status: The Court has entered an order on this matter.

UNCONTESTED MATTERS FOR WHICH A CNO HAS BEEN FILED:

6.      Debtors’ Motion Seeking Entry of an Order (I) Authorizing the Rejection of a Certain
        Unexpired Lease as of April 30, 2020, (II) Authorizing the Abandonment of Certain
        Personal Property, Effective as of April 30, 2020, and (III) Granting Related Relief
        [Filed: 4/30/20] (Docket No. 136).

        Response Deadline: May 14, 2020, at 4:00 p.m. ET

        Responses Received: None as of the date of this Notice of Agenda.



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        Related Documents:

        a.       [Proposed] Order (I) Authorizing the Rejection of a Certain Unexpired Lease as
                 of April 30, 2020, (II) Authorizing the Abandonment of Certain Personal
                 Property, Effective as of April 30, 2020, and (III) Granting Related Relief [Filed:
                 4/30/20] (Docket No. 136, Exhibit A).

        b.       Certification of No Objection Regarding Debtors’ Motion Seeking Entry of an
                 Order (I) Authorizing the Rejection of a Certain Unexpired Lease as of April 30,
                 2020, (II) Authorizing the Abandonment of Certain Personal Property, Effective
                 as of April 30, 2020, and (III) Granting Related Relief [Filed: 6/1/20] (Docket No.
                 283).

        Status: No parties have objected to the relief requested in the Motion. Accordingly, the
        Debtors have filed a certification of no objection and respectfully request the entry of the
        order attached to the Motion.

7.      Debtors’ Application for Authorization to Employ and Retain Kurtzman Carson
        Consultants LLC as Administrative Advisor Effective as of the Petition Date [Filed:
        5/8/20] (Docket No. 209).

        Response Deadline: May 22, 2020, at 4:00 p.m. ET

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       [Proposed] Order Authorizing the Debtors to Employ and Retain Kurtzman
                 Carson Consultants LLC as Administrative Advisor Effective as of the Petition
                 Date [Filed: 5/8/20] (Docket No. 209, Exhibit A).

        b.       Certification of No Objection Regarding Debtors’ Application for Authorization
                 to Employ and Retain Kurtzman Carson Consultants LLC as Administrative
                 Advisor Effective as of the Petition Date [Filed: 6/1/20] (Docket No. 282).

        Status: No parties have objected to the relief requested in the Application. Accordingly,
        the Debtors have filed a certification of no objection and respectfully request the entry of
        the order attached to the Application.

8.      Debtors’ Second Omnibus Motion Seeking Entry of an Order (I) Authorizing the
        Rejection of Certain Unexpired Leases, (II) Authorizing the Abandonment of Certain
        Personal Property, and (III) Granting Related Relief [Filed: 5/19/20] (Docket No. 239).

        Response Deadline: May 28, 2020, at 4:00 p.m. ET

        Responses Received: None as of the date of this Notice of Agenda.



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        Related Documents:

        a.       [Proposed] Order (I) Authorizing the Rejection of Certain Unexpired Leases, (II)
                 Authorizing the Abandonment of Certain Personal Property, and (III) Granting
                 Related Relief [Filed: 5/19/20] (Docket No. 239, Exhibit A).

        b.       Certification of No Objection Regarding Debtors’ Second Omnibus Motion
                 Seeking Entry of an Order (I) Authorizing the Rejection of Certain Unexpired
                 Leases, (II) Authorizing the Abandonment of Certain Personal Property, and (III)
                 Granting Related Relief [Filed: 6/1/20] (Docket No. 284).

        Status: No parties have objected to the relief requested in the Motion. Accordingly, the
        Debtors have filed a certification of no objection and respectfully request the entry of the
        order attached to the Motion.

9.      Debtors’ Third Omnibus Motion Seeking Entry of an Order (I) Authorizing the Rejection
        of (A) Certain Unexpired Leases and (B) Certain Executory Contracts, (II) Authorizing
        the Abandonment of Certain Personal Property, and (III) Granting Related Relief [Filed:
        5/21/20] (Docket No. 249).

        Response Deadline: May 28, 2020, at 4:00 p.m. ET

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       [Proposed] Order (I) Authorizing the Rejection of (A) Certain Unexpired Leases
                 and (B) Certain Executory Contracts, (II) Authorizing the Abandonment of
                 Certain Personal Property, and (III) Granting Related Relief [Filed: 5/21/20]
                 (Docket No. 249, Exhibit A).

        b.       Certification of No Objection Regarding Debtors’ Third Omnibus Motion
                 Seeking Entry of an Order (I) Authorizing the Rejection of (A) Certain Unexpired
                 Leases and (B) Certain Executory Contracts, (II) Authorizing the Abandonment
                 of Certain Personal Property, and (III) Granting Related Relief [Filed: 6/1/20]
                 (Docket No. 285).

        Status: No parties have objected to the relief requested in the Motion. Accordingly, the
        Debtors have filed a certification of no objection and respectfully request the entry of the
        order attached to the Motion.

MATTERS GOING FORWARD:

10.     Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors
        to Obtain Postpetition Secured Financing Pursuant to Section 364 of the Bankruptcy
        Code; (II) Authorizing the Debtors to Use Cash Collateral; (III) Granting Liens and
        Superpriority Administrative Expense Claims; (IV) Granting Adequate Protection to the
        Prepetition Lenders; (V) Modifying the Automatic Stay; (VI) Scheduling a Final Hearing,

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        and (VII) Granting Related Relief [Filed: 4/13/20] (Docket No. 26).

        Response Deadline: April 30, 2020, at 4:00 p.m. ET (extended until May 4, 2020 at
        4:00 p.m. for Okaloosa County, Florida and until May 5, 2020 at 4:00 p.m. for the
        Official Committee of Unsecured Creditors)

        Responses Received: Informal comments from the Official Committee of Unsecured
        Creditors, Okaloosa County, and Dallas County.

        Related Documents:

        a.       [Signed] Interim Order (I) Authorizing the Debtors to Obtain Postpetition Secured
                 Financing Pursuant to Section 364 of the Bankruptcy Code; (II) Authorizing the
                 Debtors to Use Cash Collateral; (III) Granting Liens and Superpriority
                 Administrative Expense Claims; (IV) Granting Adequate Protection to the
                 Prepetition Lenders; (V) Modifying the Automatic Stay; (VI) Scheduling a Final
                 Hearing, and (VII) Granting Related Relief [Filed: 4/14/20] (Docket No. 59).

        b.       Notice of Entry of Interim Order and Final Hearing Regarding Debtors’ Motion
                 Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors to Obtain
                 Postpetition Secured Financing Pursuant to Section 364 of the Bankruptcy Code;
                 (II) Authorizing the Debtors to Use Cash Collateral; (III) Granting Liens and
                 Superpriority Administrative Expense Claims; (IV) Granting Adequate Protection
                 to the Prepetition Lenders; (V) Modifying the Automatic Stay; (VI) Scheduling a
                 Final Hearing, and (VII) Granting Related Relief [Filed: 4/15/20] (Docket No.
                 76).

        c.       Re-Notice of Final Hearing Regarding Debtors’ Motion Seeking Entry of Interim
                 and Final Orders (I) Authorizing the Debtors to Obtain Postpetition Secured
                 Financing Pursuant to Section 364 of the Bankruptcy Code; (II) Authorizing the
                 Debtors to Use Cash Collateral; (III) Granting Liens and Superpriority
                 Administrative Expense Claims; (IV) Granting Adequate Protection to the
                 Prepetition Lenders; (V) Modifying the Automatic Stay; (VI) Scheduling a Final
                 Hearing, and (VII) Granting Related Relief [Filed: 5/8/20] (Docket No. 206).

        d.       Notice of Filing of Revised Clean and Blackline Copies of the Final (I)
                 Authorizing the Debtors to Obtain Postpetition Secured Financing Pursuant to
                 Section 364 of the Bankruptcy Code; (II) Authorizing the Debtors to Use Cash
                 Collateral; (III) Granting Liens and Superpriority Administrative Expense Claims;
                 (IV) Granting Adequate Protection to the Prepetition Lenders; (V) Modifying the
                 Automatic Stay; (VI) Scheduling a Final Hearing, and (VII) Granting Related
                 Relief [Filed: 5/28/20] (Docket No. 266).

        Status: This matter will go forward with respect to a final order.




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11.     Final Hearing on Debtors’ Motion Seeking Interim and Final Approval of First
        Amendment to Debtors’ Postpetition Secured Financing Pursuant to Sections 105(a), 363,
        and 364 of the Bankruptcy Code [Filed: 5/19/20] (Docket No. 240).

        Response Deadline: June 1, 2020, at 4:00 p.m. ET

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       [Proposed] Interim Order Approving First Amendment to Debtors’ Postpetition
                 Secured Financing [Filed: 5/19/20] (Docket No. 240, Exhibit 1).

        b.       Notice of Debtors’ Motion Seeking Interim and Final Approval of First
                 Amendment to Debtors’ Postpetition Secured Financing Pursuant to Sections
                 105(a), 363, and 364 of the Bankruptcy Code [Filed: 5/19/20] (Docket No. 240).

        c.       [Signed] Interim Order Approving First Amendment to Debtors’ Postpetition
                 Secured Financing [Filed: 5/26/20] (Docket No. 253).

        d.       Notice of Entry of Interim Order and Final Hearing Regarding Debtors’ Motion
                 Seeking Interim and Final Approval of First Amendment to Debtors’ Postpetition
                 Secured Financing Pursuant to Sections 105(a), 363, and 364 of the Bankruptcy
                 Code [Filed: 5/26/20] (Docket No. 255).

        Status: This matter will go forward with respect to a final order.

12.     Debtors’ Motion Seeking Entry of Orders (I)(A) Approving Bidding Procedures, (B)
        Scheduling an Auction and Sale Hearing, (C) Approving the Form and Manner of Notice
        Thereof, (D) Establishing Procedures for the Assumption and Assignment of Contracts
        and Leases, (II)(A) Approving Asset Purchase Agreement Among the Debtors and the
        Purchaser, (B) Approving Sale of Substantially All Assets Free and Clear of All Liens,
        Claims, Encumbrances and Other Interests Pursuant to Bankruptcy Code Sections 105,
        363(b), (f) and (m), (C) Approving Assumption, Assignment and Sale of Certain
        Executory Contracts and Unexpired Leases Free and Clear of All Liens, Claims,
        Encumbrances and Other Interests Pursuant to Bankruptcy Code Sections 363 and 365,
        and (D) Determining the Amounts Necessary to Cure Such Executory Contracts and
        Unexpired Leases, and (III) Granting Related Relief [Filed: 4/13/20] (Docket No. 27).

        Response Deadline: May 7, 2020, at 5:00 p.m. ET

        Responses Received:

        a.       Objection and Reservation of Rights of Puente Castleton LLC to Debtors’ Motion
                 Seeking Entry of Orders (I)(A) Approving Bidding Procedures, (B) Scheduling an
                 Auction and Sale Hearing, (C) Approving the Form and Manner of Notice
                 Thereof, (D) Establishing Procedures for the Assumption, Assignment and Sale of
                 Contracts and Leases, (II)(A) Approving Asset Purchase Agreement Among the

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                 Debtors and the Purchaser, (B) Approving Sale of Substantially all Assets Free
                 and Clear of All Liens, Claims, Encumbrances and Other Interests Pursuant to
                 Bankruptcy Code Sections 105, 363(b), (f) and (m), (C) Approving Assumption,
                 Assignment and Sale of Certain Executory Contracts and Unexpired Leases Free
                 and Clear of All Liens, Claims, Encumbrances and Other Interests Pursuant to
                 Bankruptcy Code Sections 363 and 365, and (D) Determining the Amounts
                 Necessary to Cure Such Executory Contracts and Unexpired Leases, and (III)
                 Granting Related Relief [Filed: 5/11/20] (Docket No. 215).

        Adequate Assurance Objection Deadline: May 8, 2020, at 4:00 p.m. ET

        Adequate Assurance Objections:

        a.       Broadspire Services, Inc.’s Supplemental Objection to Debtors’ Notice to
                 Contract Parties Regarding Adequate Assurance of Future Performance [Filed:
                 5/7/20] (Docket No. 201).

        b.       Objection of BK of Destin, Inc. to Adequate Assurance and Reservation of Rights
                 [Filed: 5/8/20] (Docket No. 207).

        c.       Huish Landlords Objection to Adequate Assurance of Future Performance and
                 Reservation of Rights [Filed: 5/12/20] (Docket No. 219).

        Cure Objection Deadline: May 4, 2020, at 4:00 p.m. ET

        Supplemental Cure Objection Deadline: May 8, 2020, at 4:00 p.m. ET

        Cure Objections:

        a.       Broadspire Services, Inc.’s Objection to Proposed Cure Amounts Presented in
                 Debtors’ Notice to Contract Parties [Filed: 5/4/20] (Docket No. 144).

        b.       Objection and Reservation of Rights of Certain [Huish] Landlords Concerning
                 Notice to Contract Parties to Potentially Assumed, Assigned and Sold Executory
                 Contracts and Unexpired Leases [Filed: 5/4/20] (Docket No. 145).

        c.       Limited Objection of the Krausz Companies, Inc. to Debtors’ Notice to Contract
                 Parties to Potentially Assumed, Assigned and Sold Executory Contracts and
                 Unexpired Leases [Filed: 5/4/20] (Docket No. 146).

        d.       Objection of BK of Destin, Inc. to Cure Amount [Filed: 5/4/20] (Docket No. 148).




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        Related Documents:

        a.       [Proposed] Order (I) Approving Asset Purchase Agreement Among the Debtors
                 and the Purchaser, (II) Approving Sale of Substantially all Assets Free and Clear
                 of All Liens, Claims, Encumbrances and Other Interests Pursuant to Bankruptcy
                 Code Sections 105, 363(b), (f) and (m), (III) Approving Assumption, Assignment
                 and Sale of Certain Executory Contracts and Unexpired Leases Free and Clear of
                 All Liens, Claims, Encumbrances and Other Interests Pursuant to Bankruptcy
                 Code Sections 363 and 365, and (IV) Determining the Amounts Necessary to
                 Cure Such Executory Contracts and Unexpired Leases, and (V) Granting Related
                 Relief [Filed:4/13/20] (Docket No. 27, Exhibit B).

        b.       [Signed] Order (A) Approving Bidding Procedures, (B) Scheduling an Auction
                 and a Sale Hearing, (C) Approving the Form and Manner of Notice Thereof, (D)
                 Establishing Notice and Procedures for the Assumption Assignment and Sale of
                 Contracts and Leases, and (E) Granting Related Relief [Filed: 4/25/20] (Docket
                 No. 115).

        c.       Notice to Contract Parties to Potentially Assumed, Assigned and Sold Executory
                 Contracts and Unexpired Leases [Filed: 4/27/20] (Docket No. 117).

        d.       Notice of Sale By Auction and Sale Hearing [Filed: 4/27/20] (Docket No. 118).

        e.       Supplemental Notice to Contract Parties to Potentially Assumed, Assigned and
                 Sold Executory Contracts and Unexpired Leases [Filed: 4/30/20] (Docket No.
                 130).

        f.       Notice of Successful Bidder [Filed: 5/12/20] (Docket No. 221).

        g.       Notice of First and Second Amendment to Asset Purchase Agreement [Filed:
                 5/21/20] (Docket No. 245).

        h.       Second Supplemental Notice to Contract Parties to Potentially Assumed,
                 Assigned and Sold Executory Contracts and Unexpired Leases [Filed: 5/26/20]
                 (Docket No. 254).

        i.       Notice of Filing of Revised Clean and Blackline Copies of the Order (I)
                 Approving Asset Purchase Agreement Among the Debtors and the Purchaser, (II)
                 Approving Sale of Substantially all Assets Free and Clear of All Liens, Claims,
                 Encumbrances and Other Interests Pursuant to Bankruptcy Code Sections 105,
                 363(b), (f) and (m), (III) Approving Assumption, Assignment and Sale of Certain
                 Executory Contracts and Unexpired Leases Free and Clear of All Liens, Claims,
                 Encumbrances and Other Interests Pursuant to Bankruptcy Code Sections 363 and
                 365, and (IV) Determining the Amounts Necessary to Cure Such Executory
                 Contracts and Unexpired Leases, and (V) Granting Related Relief [Filed: 5/28/20]
                 (Docket No. 262).



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        Status: The hearing with respect to the sale of the Debtors’ assets will go forward. The
        objection of the Krausz Companies, Inc. will go forward. All other objections have been
        resolved by agreement or addressed through rejection of the applicable leases.

13.     Motion of the Official Committee of Unsecured Creditors for Approval of Global
        Settlement with the Lenders and Purchaser [Filed: 5/28/20] (Docket No. 265).

        Response Deadline: June 3, 2020, at 4:00 p.m. ET

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       [Proposed] Order Granting Motion of the Official Committee of Unsecured
                 Creditors for Approval of Global Settlement with the Lenders and Purchaser
                 [Filed: 5/28/20] (Docket No. 265, Exhibit A).

        b.       Motion for an Order Shortening Notice and Objection Period for Motion of the
                 Official Committee of Unsecured Creditors for Approval of Global Settlement
                 with the Lenders and Purchaser [Filed: 5/28/20] (Docket No. 267, Exhibit A).

                 (i)         [Signed] Order Shortening Notice and Objection Period for Motion of the
                             Official Committee of Unsecured Creditors for Approval of Global
                             Settlement with the Lenders and Purchaser [Filed: 5/29/20] (Docket No.
                             269).

        c.       Notice of Hearing on Motion of the Official Committee of Unsecured Creditors
                 for Approval of Global Settlement with the Lenders and Purchaser [Filed:
                 5/29/20] (Docket No. 272).

        Status: This matter will go forward.

14.     Debtors’ Motion in Furtherance of Sale Seeking Approval of Transition Services
        Agreement [Filed: 5/28/20] (Docket No. 263).

        Response Deadline: June 3, 2020, at 4:00 p.m. ET

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       [Proposed] Order in Furtherance of Sale Approving Transition Services
                 Agreement [Filed: 5/28/20] (Docket No. 263, Exhibit A).

        b.       Motion to Shorten Notice and Request for Hearing with Respect to Debtors’
                 Motion in Furtherance of Sale Seeking Approval of Transition Services
                 Agreement [Filed: 5/28/20] (Docket No. 264).



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                 (i)         [Signed] Order Granting Motion to Shorten Notice and Request for
                             Hearing with Respect to Debtors’ Motion in Furtherance of Sale Seeking
                             Approval of Transition Services Agreement [Filed: 5/29/20] (Docket No.
                             270).

        c.       Notice of Hearing Regarding Debtors’ Motion in Furtherance of Sale Seeking
                 Approval of Transition Services Agreement [Filed: 5/29/20] (Docket No. 276).

        Status: This matter will go forward.

15.     Motion of Ranpu Chen for Relief From the Automatic Stay Pursuant to 11 U.S.C. §
        362(d) of the Bankruptcy Code [Filed: 5/13/20] (Docket No. 222).

        Response Deadline: May 28, 2020, at 4:00 p.m. ET (extended until 6/3/20 for the
        Debtors)

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       [Proposed] Order Lifting the Automatic Stay Pursuant to 11 U.S.C. § 362(d) of
                 the Bankruptcy Code [Filed: 5/13/20] (Docket No. 222).

        Status: The parties are in discussions and expect to resolve the motion prior to the
        hearing.

16.     Motion of Alfred J. Johnson for Relief From the Automatic Stay Pursuant to Section 362
        of the Bankruptcy Code [Filed: 5/13/20] (Docket No. 227).

        Response Deadline: May 26, 2020, at 4:00 p.m. ET (extended until 6/3/20 for the
        Debtors)

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        a.       [Proposed] Order Granting Motion for Relief From the Automatic Stay Pursuant
                 to 11 U.S.C. § 362(d) [Filed: 5/13/20] (Docket No. 227).

        Status: The parties are in discussions and expect to resolve the motion prior to the
        hearing.

17.     Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Determining Adequate
        Assurance of Payment for Future Utility Services, (II) Prohibiting Utility Providers from
        Altering, Refusing, or Discontinuing Utility Services, (III) Establishing Procedures for
        Determining Adequate Assurance of Payment, (IV) Requiring Utility Providers to Return
        Deposits for Utility Services No Longer in Use, and (V) Granting Related Relief [Filed:
        4/13/20] (Docket No. 22).


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        Response Deadline: April 30, 2020, at 4:00 p.m. ET

        Responses Received: Informal comments from Official Committee of Unsecured
        Creditors.

        a.       Objection of Atlantic City Electric Company to Debtors’ Motion Seeking Entry of
                 Interim and Final Orders (I) Determining Adequate Assurance of Payment for
                 Future Utility Services, (II) Prohibiting Utility Providers from Altering, Refusing,
                 or Discontinuing Utility Services, (III) Establishing Procedures for Determining
                 Adequate Assurance of Payment, (IV) Requiring Utility Providers to Return
                 Deposits for Utility Services No Longer in Use, and (V) Granting Related Relief
                 [Filed: 4/30/20] (Docket No. 135).

        Related Documents:

        a        [Proposed] Final Order (I) Determining Adequate Assurance of Payment for
                 Future Utility Services, (II) Prohibiting Utility Providers from Altering, Refusing,
                 or Discontinuing Utility Services, (III) Establishing Procedures for Determining
                 Adequate Assurance of Payment, (IV) Requiring Utility Providers to Return
                 Deposits for Utility Services No Longer in Use, and (V) Granting Related Relief
                 [Filed: 4/13/20] (Docket No. 22, Exhibit B).

        b.       [Signed] Interim Order (I) Determining Adequate Assurance of Payment for
                 Future Utility Services, (II) Prohibiting Utility Providers from Altering, Refusing,
                 or Discontinuing Utility Services, (III) Establishing Procedures for Determining
                 Adequate Assurance of Payment, (IV) Requiring Utility Providers to Return
                 Deposits for Utility Services No Longer in Use, and (V) Granting Related Relief
                 [Filed: 4/14/20] (Docket No. 53).

        c.       [Signed] Final Order (I) Determining Adequate Assurance of Payment for Future
                 Utility Services, (II) Prohibiting Utility Providers from Altering, Refusing, or
                 Discontinuing Utility Services, (III) Establishing Procedures for Determining
                 Adequate Assurance of Payment, (IV) Requiring Utility Providers to Return
                 Deposits for Utility Services No Longer in Use, and (V) Granting Related Relief
                 [Filed: 5/5/20] (Docket No. 184).




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        Status: The Debtors have responded informally to the objection of Atlantic City Electric,
        and the parties are attempting to resolve the matter. In the event the matter is not
        resolved, this motion will go forward with respect to the additional adequate assurance
        requested by Atlantic City Electric.

Dated: June 2, 2020                            PACHULSKI STANG ZIEHL & JONES LLP


                                               /s/ Timothy P. Cairns
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                                               David M. Bertenthal (CA Bar No. 167624)
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                                               Counsel to the Debtors and Debtors in Possession




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